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                              Exhibit “A”
Automob    漢e Reta冒看案nsta ment                 Ont「aCt
     Case 2:16-cv-13712-SFC-DRG ECF No. 1-1, PageID.12 Filed 10/18/16                                                                                      Page 2 of 3

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                                                                                            insurance:                                      X       X
                                                           lAVe        want         GAP       insurance:                                        X   X

 GAP Waiver (See Addendum)                                 IAVe   want   a   GAP   Waiver:                X


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